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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 CITIZENS FOR RESPONSIBILITY
 AND ETHICS IN WASHINGTON,
                        Plaintiff,                         Civil Action No. 19-3626 (DLF)
                v.
 U.S. DEPARTMENT OF JUSTICE,
                        Defendant.


                                JOINT STATUS REPORT

       Plaintiff, Citizens for Responsibility and Ethics in Washington, and Defendant, the United

States Department of Justice, respectfully submit this joint proposed schedule pursuant to the

Court’s minute order dated April 4, 2023. The parties have conferred and are agreed on the

following proposed schedule for renewed cross-motions for summary judgment following the

remand from the District of Columbia Circuit:

       June 12, 2023: Defendant’s motion for summary judgment

       July 21, 2023: Plaintiff’s opposition and cross-motion

       August 11, 2023: Defendant’s reply and opposition

       August 29, 2023: Plaintiff’s reply

       The parties also agree that the Court’s order for Plaintiff to file a motion for attorneys’ fees

within 30 days of the D.C. Circuit’s mandate should be vacated and that Plaintiff should be ordered

to file any motion for attorneys’ fees within 30 days of the Court’s decision on the cross-motions

for summary judgment.



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Respectfully submitted,                             Dated: April 12, 2023

 /s/ Colleen M. Campbell                            BRIAN M. BOYNTON
Colleen M. Campbell* (CA#00062)*                    Principal Deputy Assistant Attorney General
WILMER CUTLER PICKERING
  HALE AND DORR LLP                                 ELIZABETH J. SHAPIRO
1225 Seventh Street, Suite 2600                     Deputy Branch Director
Denver, Colorado 80202
Tel.: (202) 663-6197                                 /s/ Johnny Walker
colleen.campbell@wilmerhale.com                     JOHNNY H. WALKER (D.C. Bar #991325)
                                                    Trial Attorney
* Practice in Colorado temporarily authorized       United States Department of Justice
pending admission under C.R.C.P. 205.6              Civil Division, Federal Programs Branch
                                                    1100 L Street NW, Rm. 12304
Nikhel S. Sus (D.C. Bar No. 1017937)                Washington, D.C. 20530
CITIZENS FOR RESPONSIBILITY AND                     Tel.: (202) 514-3183 / Fax: (202) 616-8460
  ETHICS IN WASHINGTON                              johnny.h.walker@usdoj.gov
1331 F. St. NW, Suite 900                           Counsel for Defendant
Washington, D.C. 20004
Tel.: (202) 408-5565
Fax: (202) 588-5020
nsus@citizensforethics.org




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